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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION

              Gilbert et al.,                            Civil No. 1:25-cv-00421-DDD-
                                                                   JPM
                Plaintiffs

                     VS.                                    Judge Drell

           Harris County et al.,                      Magistrate Perez-Montes
                                                          Judge
               Defendants

                              PROPOSED PLAN OF WORK

 On, the following individuals participated in a meeting X by video conference call on
 May 30, 2025 during which this Plan of Work was formulated: Stephen Weil,
 Romanucci & Blandin LLC (Plaintiffs); Deirdre C. McGlinchey, McGlinchey &
 Stafford PLLC (LaSalle defendants); Brandon B. Brown McGlinchey & Stafford
 PLLC (LaSalle defendants) Seth Hopkins and Gregory Burnett, Harris County
 Attorney’s Office (Harris County Defendants).

 Part A

 Based on the information now reasonably available, the parties have agreed upon
 the following:

 1.       5/14/26          Deadline for completion of fact discovery
 2.       10/14/26         Final date for filing dispositive motions
 3.       10/1/25          Final date for adding parties
 4.       10/1/25          Final date for filing amended pleadings
 5.        6/1/26          Plaintiffs’ reports of experts due
 6.        7/1/26          Defendants’ reports of experts due
 7.       7/15/26          Plaintiffs’ rebuttal reports of experts due
 8.        9/1/26          Final date for taking depositions of experts

                           Date disclosures under Fed. R. Civ. P. 26(a) were made or will
 9.        7/1/25          be made

 10. Considering the subjects addressed by Fed. R. Civ. P. 26(f), the parties propose
     the following changes, limitations, or other matters: NONE
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 Part B

 The following areas of disagreement, issues, or problems have arisen regarding the
 information set forth in Section A and/or the participation of counsel/unrepresented
 parties in the Plan of Work process: NONE.

          6/10/2025                                   /s/ Seth Hopkins
            (Date)                                        (Signature)

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                                              County, Texas and Ed Gonzalez

          6/10/2025                                  /s/ Gregory Burnett
            (Date)                                        (Signature)

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                                              Attorneys for Defendants Harris
                                              County, Texas and Ed Gonzalez




          6/10/2025                              /s/ Deirdre C. McGlinchey
            (Date)                                       (Signature)
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                                   Fussell, Shannon Brewer, Gwen Warren, and
                                   Denise Finlay



         6/10/2025                                  /s/ Stephen Weil
           (Date)                                      (Signature)

                                                      Stephen Weil
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         6/12/2025                                 /s/Aaron Maples
           (Date)                                     (Signature)

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